Case 2:15-ml-02668-PSG-SK Document 345 Filed 07/19/21 Page 1 of 4 Page ID #:5012



 1   MARC M. SELTZER (54534)
     mseltzer@susmangodfrey.com
 2   RAYMOND K. WRIGHT (331950)
     rwright@susmangodfrey.com
 3   SUSMAN GODFREY L.L.P.
     1900 Avenue of the Stars, Suite 1400
 4   Los Angeles, CA 90067-6029
     Phone: (310) 789-3100
 5   Fax: (310) 789-3150
 6   SCOTT MARTIN
     smartin@hausfeld.com
 7   IRVING SCHER
     ischer@hausfeld.com
 8   HAUSFELD LLP
     33 Whitehall Street, 14th Floor
 9   New York, NY 10004
     Tel: (646) 357-1100
10   Fax: (212) 202-4322
11   HOWARD LANGER
     hlanger@langergrogan.com
12   EDWARD DIVER
     ndiver@langergrogan.com
13   PETER LECKMAN
     pleckman@langergrogan.com
14   LANGER GROGAN AND DIVER PC
     1717 Arch Street, Suite 4130
15   Philadelphia, PA 19103
     Tel: (215) 320-5660
16   Fax: (215) 320-5703

17   Additional Counsel listed on Signature Page]
18   Plaintiffs’ Interim Co-Lead Class Counsel

19
                           UNITED STATES DISTRICT COURT

20                       CENTRAL DISTRICT OF CALIFORNIA

21   IN RE: NATIONAL FOOTBALL                  Case No.: 2:15-ml-02668−PSG (JEMx)
     LEAGUE’S “SUNDAY TICKET”
22   ANTITRUST LITIGATION                      DISCOVERY MATTER
23                                JOINT STIPULATION AND
     THIS DOCUMENT RELATES TO ALL PROPOSED ORDER REGARDING
24   ACTIONS                      PLAINTIFFS’ MOTION TO COMPEL
                                  PRODUCTION BY THE NFL CLUB
25                                DEFENDANTS

26
                                               Magistrate Judge: Hon. John E. McDermott
                                               Discovery Cutoff Date: 3/22/2022
27                                             Pretrial Conference Date: TBD
                                               Trial Date: TBD
28
Case 2:15-ml-02668-PSG-SK Document 345 Filed 07/19/21 Page 2 of 4 Page ID #:5013



 1         WHEREAS, the Court issued an Order requiring Plaintiffs and the NFL Club
 2   Defendants to confer and prepare a Proposed Order based on the Court’s comments at
 3   the hearing on Plaintiffs’ Motion to Compel Production of Documents by the NFL Club
 4   Defendants (Doc. No. 335);
 5         WHEREAS, Interim Class Counsel and counsel for the NFL Club Defendants
 6   have conferred and agreed to a Proposed Order based on the Court’s comments at the
 7   hearing on Plaintiffs’ Motion to Compel Production of Documents by the NFL Club
 8   Defendants.
 9         IT IS HEREBY STIPULATED AND AGREED that Plaintiffs and the NFL Club
10   Defendants jointly request the Court to issue the attached Proposed Order.
11

12   DATED: July 19, 2021                  Respectfully submitted,
13

14
                                     By:   /s/ Marc M. Seltzer
                                           Marc M. Seltzer
15

16                                         MARC M. SELTZER
                                           RAYMOND KEITH WRIGHT
17                                         SUSMAN GODFREY L.L.P.
18
                                           SCOTT MARTIN
19                                         IRVING SCHER
20                                         HAUSFELD LLP

21                                         HOWARD LANGER
22                                         EDWARD DIVER
                                           PETER LECKMAN
23                                         LANGER GROGAN AND DIVER PC
24
                                           ARUN SUBRAMANIAN
25                                         asubramanian@susmangodfrey.com
26                                         WILLIAM CHRISTOPHER CARMODY
                                           bcarmody@susmangodfrey.com
27                                         SETH ARD
28                                         sard@susmangodfrey.com
                                           EDWARD DELMAN
                                                1
Case 2:15-ml-02668-PSG-SK Document 345 Filed 07/19/21 Page 3 of 4 Page ID #:5014



 1
                                      edelman@susmangodfrey.com
                                      SUSMAN GODFREY LLP
 2                                    1301 Avenue of the Americas, 32nd FL.
 3                                    New York, NY 10019
                                      Tel: (212) 336-8330/ Fax: (212) 336-8340
 4

 5                                    IAN M. GORE
                                      igore@susmangodfrey.com
 6                                    SUSMAN GODFREY LLP
 7                                    1201 Third Avenue, Suite 3800
                                      Seattle, WA 98101
 8                                    Tel: (206) 505-3841/Fax: (206) 516-3883
 9
                                      MICHAEL D. HAUSFELD
10                                    mhausfeld@hausfeld.com
11                                    HAUSFELD LLP
                                      1700 K. Street NW, Suite 650
12                                    Washington, DC 20006
13                                    Tel: (202) 540-7200/Fax: (202) 540-7201

14                                    MICHAEL P. LEHMANN
15                                    mlehmann@hausfeld.com
                                      BONNY E. SWEENY
16                                    bsweeney@hausfeld.com
17                                    CHRISTOPHER L. LEBSOCK
                                      lebsock@hausfled.com
18                                    HAUSFELD LLP
19                                    600 Montgomery St., Suite 3200
                                      San Francisco, CA 94111
20                                    Tel: (415) 633-1908/Fax: (415) 358-4980
21
                                      Attorneys for Plaintiffs’ Interim Co-Lead Class
22                                    Counsel
23

24   Dated: July 19, 2021        By: /s/ Beth A. Wilkinson
                                      Beth A. Wilkinson
25

26
                                      BETH A. WILKINSON (admitted pro hac vice)
                                      bwilkinson@wilkinsonstekloff.com
27                                    BRIAN L. STEKLOFF (admitted pro hac vice)
                                      bstekloff@wilkinsonstekloff.com
28                                    RAKESH N. KILARU (admitted pro hac vice)

                                          2
Case 2:15-ml-02668-PSG-SK Document 345 Filed 07/19/21 Page 4 of 4 Page ID #:5015



                                      rkilaru@wilkinsonstekloff.com
 1                                    JEREMY S. BARBER (admitted pro hac vice)
 2                                    jbarber@wilkinsonstekloff.com
                                      ROXANA C. GUIDERO
 3                                    rguidero@wildinsonstekloff.com
                                      WILKINSON STEKLOFF LLP
 4                                    2001 M Street NW, 10th Floor
 5
                                      Washington, DC 20036
                                      Telephone: (202) 847-4000
 6                                    Facsimile: (202) 847-4005
 7                                    NEEMA T. SAHNI (Bar No. 274240)
                                      nsahni@cov.com
 8
                                      COVINGTON & BURLING LLP
 9                                    2029 Century Park East Suite 3100
                                      Los Angeles, CA 90067
10                                    Telephone: (424) 332-4800
                                      Facsimile: (424) 332-4782
11

12
                                      GREGG H. LEVY (admitted pro hac vice)
                                      glevy@cov.com
13                                    DEREK LUDWIN (admitted pro hac vice)
                                      dludwin@cov.com
14                                    COVINGTON & BURLING LLP
                                      One CityCenter
15                                    850 Tenth Street NW
16                                    Washington, DC 20001
                                      Telephone: (202) 662-6000
17                                    Facsimile: (202) 662-6291
18                                    Counsel for Defendants National Football
19
                                      League, NFL Enterprises LLC, and the
                                      Individual NFL Clubs
20

21

22

23

24

25

26

27

28

                                          3
